Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 1 of 11 Page ID #:242




                                      FIRST AMENDED COMPLAINT
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 2 of 11 Page ID #:243
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 3 of 11 Page ID #:244
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 4 of 11 Page ID #:245
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 5 of 11 Page ID #:246
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 6 of 11 Page ID #:247
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 7 of 11 Page ID #:248
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 8 of 11 Page ID #:249
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 9 of 11 Page ID #:250
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 10 of 11 Page ID #:251
Case 2:18-cv-04414-RSWL-KS Document 51 Filed 01/16/19 Page 11 of 11 Page ID #:252
